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                                           STATEMENT OF FACTS


        On December 15, 2021, at approximately 6:00 AM, law enforcement searched the
residence located at XXXX 18th Street Northeast, Apartment 2, Washington, DC, pursuant to a
search warrant issued by the United States District Court for the District of Columbia. The
residence belonged to Morez Murchison KING, who was present at the residence at the time of
the warrant execution. KING was the only individual present at the residence at the time law
enforcement executed the search warrant. KING purchased the 18th Street residence in April of
2021. On May 11, 2021, KING obtained a driver’s license from the District of Columbia
Department of Motor Vehicles listing the 18th Street residence as his address.
        Law enforcement agents recovered two SD memory cards, four cellular telephones, two
tablets, one laptop, and a MicroSD card reader thought to be a USB thumb drive from the
residence. The SD memory cards were recovered from the spare bedroom in the residence that
KING appeared to be using as an office.
        During a preliminary review of one of the two SD memory cards, law enforcement agents
observed two videos depicting child pornography. The first video was titled1 “Sleeping … toddler
gets anal fucked ...avi” and is approximately fifty-six (56) seconds in length. This video depicts an
adult male penetrating, or attempting to penetrate, a minor subject’s anus with his erect penis
before ejaculating on the minor subject’s buttock. The creation date of the video was
approximately August 29, 2021, at 7:59:00 PM.
        The second video is titled “1_51003766830…562115.mp4” and is approximately twelve
(12) seconds in length. This video depicted an adult male anally and vaginally penetrating a minor
female subject with his erect penis. The creation date of the video was approximately September
16, 2021 at approximately 1:49:38 AM. The SD card also had a “selfie” image depicting KING.
There were also multiple other video and image files depicting child pornography on the SD
memory card.
        In 2015, KING was convicted of five counts of Possession/Reproduction of Child
Pornography with Intent to Distribute in Fairfax County, Virginia. A query of the Virginia Sex
Offender Registry lists KING’s address as XXXX 18th Street Northeast, Apartment 2, Washington,
DC. A query of the District of Columbia Metropolitan Police Department’s Sex Offender Registry
lists KING’s address as the XXXX block of 18th Street Northeast, Washington, D.C. 20002.


                                                      CONCLUSION

       Based on the above information, there is probable cause to believe that Morez Murchison
KING committed the offense of Possession of Child Pornography, in violation of 18 U.S.C. §
2252(a)(4)(B) and of Receipt of Child Pornography, in violation of 18 U.S.C. § 2252(a)(2).




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    The file names have been redacted so as not to encourage the further dissemination of child pornography.
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                                            _________________________________
                                            JEFFREY COLLINS
                                            HOMELAND SECURITY INVESTIGATIONS


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 17th day of December 2021.

                                             G. Michael             Digitally signed by G.
                                                                    Michael Harvey

                                             Harvey                 Date: 2021.12.17
                                                                    14:28:29 -05'00'
                                             ___________________________________
                                             G. MICHAEL HARVEY
                                             U.S. MAGISTRATE JUDGE
